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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
         v.                                   :      Criminal No. 21-cr-24 (EGS)
                                              :
ROBERT GIESWEIN,                              :
                                              :
                       Defendant.             :

                    UNITED STATES’ NOTICE OF HEARING EXHIBITS

         The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, respectfully files this notice on the docket indicating the video exhibits

it has made available to the Court ahead of the scheduled January 19, 2022, motions hearing.    The

government does not have any objection to the public dissemination of any of the exhibits noted

below.

 Exhibit Name                     Length                           Description

 MIL Video Exhibit 1              0:08                             Publicly Available Video
                                                                   Showing Statement made by
                                                                   Defendant on January 6, 2021
 MIL Video Exhibit 2              0:30                             Video from exterior Capitol
                                                                   CCV     camera,     showing
                                                                   Defendant on January 6, 2021
 MIL Video Exhibit 2A             N/A                              Screenshot taken from MIL
                                                                   Video Exhibit 2
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                                    Respectfully submitted,

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